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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

KENNETH JOSEPH,

BRADONBAY, LTD., and Civil Action No. 15-cv-8910
KWD, INC.,

Plaintiffs,
VS.

GNUTTI CARLO S.p.A. and NAL JUDICIAL ASSISTANCE

WH INDUSTRIES DELAWARE, INC.,
d/b/a GNUTT] CARLO USA,

Defendants.

The United States District Court for the Southern District of New York presents
its compliments to the Senior Master of the Court of Judicature, Queen’s Bench Division and
requests assistance in obtaining evidence to be used in a civil proceeding now pending before
this Court.

The District Court requests that the Senior Master approve the Plaintiffs’
nomination of a practicing Barrister or such other qualified person as the Court deems fit, to act
as Examiner for the purpose of obtaining evidence for trial from one witness.

This request is made pursuant to, and in conformity with the Hague Convention of
18 March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters, to which
both the United States and the United Kingdom are a party.

The Court considers that the evidence sought is directly relevant to the issues in
dispute and is not discovery within the meaning of Article 23 of the Hague Evidence
Convention, that is, discovery intended to lead to relevant evidence for trial. It is expected,

based on existing timetables, that the United States District Court for the Southern District of

New York will schedule trial on or about the fourth quarter of 2016. USDC SDNY

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The particulars of this Hague Evidence Request are as follows:

Sender:

Central Authority of the Requested
State

Person to whom the executed request
is to be returned

Honorable Alison J. Nathan

District Judge

United States District Court

for the Southern District of New York

COMPETENT AUTHORITY FOR
ENGLAND AND WALES

Senior Master

Queen’s Bench Division

ROYAL COURTS OF JUSTICE
Strand

London WC2A 2LL

UNITED KINGDOM

On behalf of:

THE CENTRAL AUTHORITY FOR THE
UNITED KINGDOM

Her Majesty’s Principal Secretary of State for
Foreign Affairs

FOREIGN AND COMMONWEALTH
OFFICE

King Charles Street

London SW1A 2AH, England

UNITED KINGDOM

Plaintiffs’ Legal Representative in the UK:

Mark Nicholson

Nicholsons Solicitors

23 Alexandra Road

Lowestoft, Suffolk NR32 1PP
Tel: 01502 532 324
mnicholson@nicholsonslaw.com

On behalf of:

Honorable Alison J. Nathan

District Judge

United States District Court

for the Southern District of New York

In conformity with Article 3 of the Convention, the undersigned applicant has the

honor to submit the following requests:
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Sa. Requesting Judicial Authority: Honorable Alison J, Nathan
District Judge
United States District Court
for the Southern District of New York

5b. To the competent authority of: THE UNITED KINGDOM OF GREAT
BRITAIN AND NORTHERN IRELAND

6. Names and addresses of the parties
and their representatives:

a. Plaintiffs: Bradonbay, Ltd., Kenneth Joseph, and
KWD, Inc.

Represented in the US by:

Robert J. Kipnees
Lowenstein Sandler LLP
1251 Avenue of the Americas
New York, New York 10020

Represented in England by:

Mark Nicholson

Nicholsons Solicitors

23 Alexandra Road

Lowestoft, Suffolk NR32 IPP
Tel: 01502 532 324
mnicholson@nicholsonslaw.com

b. Defendants: Gnutti Carlo S.p.A and Gnutti Carlo USA,
Ine.

Represented in the US by:

John E, Zummo

Howard & Howard Attorneys PLLC
200 S. Michigan Avenue

Chicago, IL 60604

Tel: (312) 456-3425
jzummo@howardandhoward.com

Bonnie Lynn Chmil

Katten Muchin Rosenman LLP
575 Madison Avenue

New York, NY 10022

Tel: (212) 940-8800
bonnie.chmil@kattenlaw.com
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Represented in England by:

Steven Loble, Esq.
W Legal Limited
47 Red Lion Street
London

WC IR 4PF

Ref. SFL/

7, Nature and purpose of the proceedings and summary of the facts:

a. SUMMARY OF BACKGROUND FACTS

This case arises out of a Stock Purchase Agreement dated December 11, 2012 (the
“SPA”), pursuant to which defendant Gnutti Carlo, S.p.A (“Gnutti”) purchased non-party WH.
Industries, Inc. (“WHI”) from plaintiffs Kenneth Joseph and KWD, Inc. for $30,500,000, plus or
minus any working capital adjustments. After the sale, WHI became Gnutti Carlo USA, Inc.
(“Gnutti USA”), Following the closing of the SPA, the parties to the SPA negotiated post-
closing working capital adjustments to the sale price. At the conclusion of the negotiations, the
parties executed a Settlement Agreement and Release, dated October 23, 2013 (the “Settlement
Agreement”).

Prior to the SPA, Bradonbay, LTD (“Bradonbay”), a United Kingdom company
owned by plaintiffs Kenneth Joseph and KWD, Inc., provided assembly services to WHI in the
UK. From January 1, 2010 to January 31, 2013, Bradonbay mistakenly charged WHI output
value added tax (VAT) on those services and remitted that VAT to HM Revenue & Customs
(“HMRC”). WHI then reclaimed the tax it paid to Bradonbay from HMRC as input VAT (the
“UK VAT Error”). The parties discovered the error in or about April 2013. The total amount of
the error was (at that time) £507,754 (the “UK VAT Amount”), On July 16, 2013, through

BDO, LLP (“BDO”), the parties jointly proposed to HMRC that the error should be resolved
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through internal adjustments to the parties’ VAT accounts, as opposed to the normal mechanism
which required Bradonbay to submit a claim to HMRC for repayment of the UK VAT Amount
and to refund that amount to Gnutti USA (as the successor to WHI), who would then be required
to return the UK VAT Amount back to HMRC (the “Joint Proposal’).

On October 28, 2013, after the Settlement Agreement was executed, Bradonbay
withdrew from the Joint Proposal and made a claim to HMRC to receive and retain a refund of
the UK VAT Amount (i.e., without remitting the refund to Gnutti USA for repayment to
HMRC). Bradonbay asserted that it could retain the refund of the UK VAT Amount because the
UK VAT Amount was included in the post-closing adjustments addressed in the Settlement
Agreement and therefore Gnutti USA had released any claim relating to the UK VAT Amount,
Gnutti USA opposed Bradonbay’s claim to receive and retain the UK VAT Amount to the extent
that Gnutti USA would remain obligated to refund a corresponding amount to HMRC, On July
1, 2014, HMRC denied Bradonbay’s claim. On July 17, 2014, Bradonbay initiated an appeal of
HMRC’s decision to the First Tier Tribunal (Tax Chamber) in the UK (the “UK Appeal”), On
December 12, 2014, HMRC applied to have Gnutti USA added as a Second Respondent in the
UK Appeal. Bradonbay opposed the application. Gnutti USA did not object to HMRC’s
application, On May 27, 2015, the Tribunal granted HMRC’s application and Gnutti USA was
joined as a Second Respondent to the UK Appeal. On October 15, 2015, as Second Respondent
and pursuant to the directions of the Tribunal, Gnutti USA filed a Statement of Position in the
UK Appeal.

On November 15, 2015, Plaintiffs commenced this action, alleging that

Defendants breached the Settlement Agreement by trying to orchestrate the return to them and/or
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interfering with Bradonbay’s collection of the UK VAT Amount. The parties’ respective
positions are set forth below.
b, PLAINTIFFS’ POSITION

Defendants, sophisticated business entities represented by counsel, knowingly and
voluntarily entered into a Settlement Agreement with Plaintiffs after months of extensive and
intensive negotiations. The terms of the Settlement Agreement are unambiguous and expansive.
The Settlement Agreement encompasses all claims that “exist by reason of, in relation to,
pursuant to or in connection with” a post-closing working capital adjustment—7.e., Working
Capital Items—and thus constitutes a complete bar to those claims. Although Defendants
contend that the Settlement Agreement excluded the UK VAT Amount, Defendants were aware
of, inter alia, the UK VAT Amount well before they entered the Settlement Agreement,
independently investigated the UK VAT Amount, and negotiated and executed a complete
release of their right to the UK VAT Amount. Defendants’ continued efforts to prevent
Bradonbay from recouping the UK VAT Amount constitute a breach of the Settlement
Agreement and a breach of the implied covenant of good faith and fair dealing.

¢ DEFENDANTS’ POSITION

This litigation centers entirely on Plaintiffs’ efforts to claim and retain the UK
VAT Amount, As noted above, the UK VAT Amount results from technical error by plaintiff
Bradonbay—incorrectly charging VAT on services to WHI. Importantly, the error did not cause
a loss to any party or HMRC, and neither party owes HMRC any taxes or is entitled to a refund
of any taxes. Rather, as Bradonbay acknowledged in the Joint Proposal (and its papers in the UK
Appeal), the incorrectly charged VAT went around in a circle and back to WHI, leaving the

parties and HMRC in the same position each would have been had the error not occurred,
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Nonetheless, as noted by Bradonbay in the Joint Proposal, the statutory mechanism to correct the
error mandates that Bradonbay either:

(a) “submit[] a claim for repayment of VAT ...[and] ... upon receipt of the
repayment from HMRC, to refund the whole amount to GC [Gnutti USA, as the successor to
WHI] by virtue of the reimbursement arrangements in Regulations 43A to 43G of the VAT Act
of 1994 [,who] would then be obliged to adjust its input claim [pay that same amount back to
HMRC], meaning that the funds would ultimately end up back in HMRC’s hands”; or

(b) “issue a ‘WAT-only’ credit note to GC [, which] would result. in
Bradonbay ... having to refund that amount prior to obtaining the effect of [the] credit note
through its VAT return.”

As Bradonbay represented to HMRC, however, it did “not have the banking
facilities or finances to fund such a significant payment to GC” and the statutory solution was not
possible. Accordingly, Bradonbay suggested and implemented the Joint Proposal to HMRC.

Nonetheless, after the Settlement Agreement was executed, Bradonbay withdrew
from the Joint Proposal and made a claim to HMRC to receive and retain the UX VAT Amount.
Significantly, if Bradonbay received but retained a refund of the UK VAT Amount, Gnutti USA
would still be obligated to pay that same amount back to HMRC. Thus, Bradonbay would
receive approximately £500,000 (that was not owed to Bradonbay by HMRC or Gnutti USA)
funded by Gnutti USA. Such a claim and unjust result is not permitted under the VAT Act of
1994 (“VATA”). Accordingly, Bradonbay based its claim on the Settlement Agreement,
asserting that the agreement included adjustments for the UK VAT Amount and thus Mr. Joseph
and KWD (Bradonbay was not a party to the agreement) had already provided consideration to

Gnutti USA in exchange for, among other things, the UK VAT Amount.
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HMRC denied Bradonbay’s claim and rejected Bradonbay’s assertion that the
Settlement Agreement included adjustments for the UK VAT Amount and/or altered the
statutory reimbursement arrangements of the VATA. In the midst of prosecuting the UK Appeal
(of HMRC’s decision), Plaintiffs initiated this action in which they re-cast Bradonbay’s claim to
the UK VAT amount in the UK as a breach of the Settlement Agreement by Defendants. In this
litigation, Plaintiffs’ theory shifted to address the fact that the agreement does not include any
adjustments for the UK VAT Amount. Specifically, Plaintiffs concede that the Settlement
Agreement does not reference the UK VAT Amount but argue that the release therein
“encompassed” all claims relating to all VAT. Therefore, Plaintiffs assert that the release
permits them to affirmatively pursue a claim to the UK VAT Amount while barring Defendants
from contesting or defending that claim. Plaintiffs then allege that Defendants breached the
Settlement Agreement through their interactions with HMRC and participation in the UK Appeal
by “trying to orchestrate the return to them and/or interfering with Plaintiffs’ collection of the
UK VAT Amount.” The relief sought is identical to the claim in the UkK—the UK VAT Amount
and/or an order declaring Bradonbay is entitled to the same.

Plaintiffs’ claim fails for any one of the following reasons. First, the Settlement
Agreement unquestionably does not encompass the UK VAT Amount. Second, even if all VAT
was a working capital item that was subject to the release, the mutual release in the agreement
(i.e., barring any claim relating to VAT) cannot be used as a platform for one releasor (Plaintiffs)
to make that very claim while simultaneously barring the other releasor (Defendants) from
defending that claim. Accepting Plaintiffs’ argument that the release bars all claims to VAT,
then Plaintiffs’ own claim to the UK VAT Amount (including the claims in this litigation) are

barred by the release. Finally, Defendants have not made and cannot (under UK law) make any
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claim to the UK VAT Amount that could constitute a breach of the release in the Settlement
Agreement.
d. STAGE OF THE UK PROCEEDINGS
After the instant litigation was initiated, Bradonbay applied to the Tribunal to stay
the appeal proceedings pending resolution of the VAT-related claims in this Court. HMRC and
Defendants consented to the stay.
e. STAGE OF THE US PROCEEDINGS
This action was commenced by the filing of a Complaint by Plaintiffs on

November 15, 2015. Pursuant to this Court’s Order, all fact discovery must be completed on or

before September 15, 2016. Written discovery commenced on March 31, BM and fact witness
depositions will proceed until September 15, 2016. Based upon current timetables, trial is
expected to take place in the fourth quarter of 2016.

f. THE UK WITNESSES AND DOCUMENTS

The parties have disclosed a number of witnesses located in the United Kingdom
who possess information and/or documents relevant to the claims in this matter. Notably, the
limited information and documents sought herein cannot be obtained completely from other
sources. Indeed, virtually all of the occurrences underlying the UK VAT-related claims and
defenses occurred in the UK. The witnesses to those occurrences are located in the UK.

The agreement of the below-mentioned witness to give evidence in this matter has
been sought. It is believed that Andy Hancock and Moore Stephens will likely give evidence
only pursuant to a formal Request in conformity with The Hague Evidence Convention.

For the reasons set forth herein, the United States District Court for the Southern

District of New York believes that the witness (whose contact details are given below) will be
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able to provide evidence directly relevant to the main issues between the parties and without

which the ends of justice could not be properly met. The United States District Court for the

Southern District of New York believes that this evidence is not available from any other source.
i. List of Subjects for Oral Examination

The United States District Court for the Southern District of New York requests

that the following individuals be ordered to attend for examination to give evidence about the

following matters.

1. Andy Hancock
Moore Stephens
Rutland House, Minerva Business Park
Lynch Wood, Peterborough
Cambridgeshire PE2 6PZ
United Kingdom
+44(0) 1733 397300

Mr. Hancock is the Managing Partner of Moore Stephens. The subject of Mr.

Hancock’s testimony will be:

a) the UK VAT Amount and impact of the error on Bradonbay’s and Gnutti
USA’s UK VAT positions;

b) communications with HMRC regarding the Joint Proposal;

c) the negotiation of the Settlement Agreement and the post-closing
adjustments addressed therein, and

d) Authentication of documents if necessary

8. Evidence to be obtained: Plaintiffs seek testimony and documents from
the entities and individuals listed above in
Section 7f,

9, Identity and address of persons to be Please see list of witnesses itemized above.
examined:
10. Subject matter about which the Please sce list of subjects itemized above.

witnesses will be examined:

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11. Documents or other property to be Please sce list of documents itemized above.
inspected:
12. Any requirement that the evidence None,

be given on oath or affirmation and
any specific form to be used:

13. Special methods or procedures to be
followed:

The United States District Court for the Southern District of New York
respectfully requests assistance in appointing an English Examiner for the purpose of compelling
oral testimony for use at trial from English witnesses. The United States District Court for the
Southern District of New York further requests that Plaintiffs’ counsel, Mark Nicholson, a
solicitor with the Lowestoft, Suffolk firm of Nicholsons Solicitors, arrange for the nomination of
an Examiner in this matter. This Request is made pursuant to, and in conformity with, Article 18
of The Hague Evidence Convention of March 18, 1970; the Evidence (Proceedings in Other
Jurisdictions) Act 1975, Local Civil Rules 26.3-26.5 for the United States District Court for the
Southern District of New York, and Rule 34 of the Federal Rules of Civil Procedure.

The United States District Court for the Southern District of New York further
requests that the parties’ representatives or their designees, a court reporter and a videographer
be permitted to be present during the examination; that the representatives or designees be
permitted to examine and cross-examine the witnesses directly; and that a court reporter and a

videographer be permitted to make a verbatim record of the proceedings.

14. Request for notification of the times It is requested that testimony be taken at such
and place for the execution of the place, date or time as ordered by the Senior
Request and identity of the person to Master and/or as otherwise scheduled by the
be notified: representatives of the Plaintiffs and/or as

otherwise agreed to by the witnesses and the
respective representatives of the Parties.

Notice thereof should be made to Plaintiffs’

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Request for attendance or
participation of judicial personnel of
the requesting authority at the
execution of the Letter of Request:

Specification of privilege or duty to
refuse to give evidence under the
laws of the State of origin:

The fees and costs incurred which
are reimbursable under the second
paragraph of Article 14 or under
Article 26 of the Convention will be
borne by Plaintiffs.

Date of Request

UK designee:

Mark Nicholson

Nicholsons Solicitors

23 Alexandra Road

Lowestoft, Suffolk NR32 1PP
Tel: 01502 532 324
mnicholson@nicholsonslaw.com

None.

Under the laws of the United States, a party
has a privilege to refuse to give evidence if the
evidence discloses the contents of a
confidential communication between that party
and an attorney for that party that was made for
the purpose of obtaining legal advice.

Parties also enjoy limited privileges on other
grounds not relevant here such as
communications between physician and
patient, psychotherapist and patient, husband
and wife, or clergy and penitent.

US law also recognizes a privilege against
criminal self-incrimination.

Outside the strict area of privilege, certain
limited immunities are available that may place
restrictions on the giving of evidence, such as
the limited protection of documents created as
the work product of attorneys during or in
anticipation of litigation.

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19, Signature and seal of the Requesting
Honorable Judge j

Authority: L
ity UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

This Court expresses its appreciation to you for your courtesy and assistance in
this matter and states that, pursuant to the authority of 28 U.S.C. § 1782, it stands ready and

willing to do the same for you in a similar matter when required.

Attachments

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